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                    EXHIBITB
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 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF NEW YORK


 THE PEOPLE OF THE STATE OF NEW YORK

                        -against-

 ROYCE CORLEY,

                                           Defendant.



       THE GRAND JURY OF THE COUNTY OF NEW YORK, by this indictment, accuses

the defendant of the crime of PROMOTING PROSTITUTION IN THE THIRD DEGREE,

in violation of Penal Law §230.25(1), committed as follows:

       The defendant, in the County of New York, on or about January 12, 2012, knowingly

advanced and profited from prostitution by managing, supervising, controlling, and owning,

either alone or in association with others, a prostitution business and enterprise involving

prostitution activity by two or more prostitutes.



SECOND COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of PROMOTING PROSTITUTION IN THE THIRD DEGREE, in

violation of Penal Law §230.25(2), committed as follows:

       The defendant, in the County of New York, on or about January 12, 2012, knowingly

advanced and profited from prostitution of a person who was less than nineteen years old.



                                                           CYRUS R. VANCE, JR.
                                                           District Attorney
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                                         THE PEOPLE OF THE STATE OF NEW YORK

                                                               -against-

                                         ROYCE CORLEY,

                                                                                Defendant.


                                                          INDICTMENT

         PROMOTING PROSTITUTION IN THE THIRD DEGREE, P.L. §230.25(1)
         PROMOTING PROSTITUTION IN THE THIRD DEGREE, P.L. §230.25(2)



                                         CYRUS R. VANCE, JR., District Attorney

                                                            A True Bill

         David Stuart
         Trial Bureau 60

                                          ADJOURNED TO PART                ON - - -
